Case 8:19-cr-00195-ODW Document5 Filed 11/21/19 Page 1of2 Page ID #:37

 ResetForm — |

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

Case Number 2

| " Ch “G 0) i 9 D aye Defendant Number 4 5 m E

U.S.A. v.. Alexander Michael Semenik

Indictment [_] Information

Year of Birth 1971

Investigative agency (FBI, DEA, etc.) FBI) DCIS, IRS, Amtrak OIG

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [] Petty Offense
[_] Class B Misdemeanor [_] Class C Misdemeanor [¥] Felony
b. Date of Offense various to July 2016

c. County in which first offense occurred

Orange

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

[_] Los Angeles
Orange

[_| Riverside

[_] San Bernardino

[| Ventura

[_] Santa Barbara
[| San Luis Obispo
[_] Other

Citation of Offense 42 U.S.C. 1320a-7b

e. Division in which the MAJORITY of events; acts, or omissions
giving rise to the crime or crimes charged occurred:

[| Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
LE] Eastern (Riverside and San Bernardino) Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

No [_] Yes

If "Yes," Case Number:

Pursuant to General Order 19-03, criminal cases may be related
if a previously filed indictment or information and the present
case:
a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED
CASE): U.S. v. Kosolcharoen, SA CR 16-94-AG

PREVIOUSLY FILED COMPLAINT/CVB.CITATION

A complaint/CVB citation was previously filed on: n/a

Case Number:

Assigned Judge:

Charging:

The complaint/CVB citation:
[_] is still pending
[_] was dismissed on:

PREVIOUS COUNSEL

No [_] Yes

Was defendant previously represented?
IF YES, provide Name:

Phone Number:

COMPLEX CASE

Are there 8 or more defendants in the Indictment/Information?
[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
IS THIS ANEW DEFENDANT? [_| Yes No
superseding charge (i.e., 1st, 2nd).

This is the
The superseding case was previously filed on:

Case Number

The superseded case:
[_] is still pending before Judge/Magistrate Judge

[-] was previously dismissed on

Are there 8 or more defendants in the superseding case?
[_] Yes* [_] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[ ] Yes* No

Was a Notice of Complex Case filed on the Indictment or

Information?
[_] Yes No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

CR-72 (03/19)

CASE SUMMARY

Page 1 of 2
Case 8:19-cr-00195-ODW Document5 Filed 11/21/19 Page 2of2 Page ID #:38
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

INTERPRETER
Is an interpreter required? [_] YES NO
IF YES, list language and/or dialect:

n/a

OTHER

Male [_] Female
U.S. Citizen [[] Alien

Alias Name(s)

This defendant is charged in:
[_] All counts

Only counts: 31,35,43-48

[_] This.defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per
18 USC § 3166(b){7).

Is defendant a juvenile? [_] Yes No
IF YES, should matter be sealed? [_] Yes No

The area(s) of substantive law that will be involved in this case
include(s):

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: n/a

b. Posted bond at complaint level on:

in the amount of $

c.PSA supervision? [_] Yes [_]No:
d. Is on bail or release from another district:

Defendant is in custody:
a. Place of incarceration: [_] State [_] Federal

b. Name of Institution:

c. If Federal, U.S. Marshals Service Registration Number:

d.[_] Solely on this charge. Date and time of arrest:

e. On another conviction: — [] Yes [] No

IF YES: [_] State [_] Federal [_] Writ of Issue

f. Awaiting trial on other charges: [ ] Yes [_] No
IFYES: [| State [| Federal AND

Name of Court:

Date transferred to federal custody:

[_] financial institution fraud [_] public corruption This person/proceeding is transferred from another district
[_] government fraud [_] tax offenses pursuanttoF.R.CrP, __20 __ 7! ___*0
[_] environmental issues [_] mail/wire fraud
[_] narcotics offenses [_] immigration offenses
[_] violent crimes/firearms [_] corporate fraud
Other _ illegal remunerations for health care programs
)
EXCLUDABLE TIME
Determinations as to excludable time prior to filing indictment/information, EXPLAIN:
Wr
Date 11/21/2019 Signature of Assistant U.S. Attorney

Mark Aveis

Print Name
CR-72 (03/19) CASE SUMMARY Page 2 of 2
